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                                  Exhibit 2
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS

CHOP FOO, LLC                                 )
                                              )
                       Plaintiff,             )
                                              )
       v.                                     )       Bankruptcy Case No.            21-05434
                                              )
                                              )       Adversary No.                  21ap00117
JUSTIN FARA,                                  )
                                              )
                       Defendant.             )

   DEFENDANT JUSTIN FARA’S RESPONSES TO PLAINTIFF CHOP FOO LLC’S
          INTERROGATORIES & REQUESTS FOR PRODUCTION

       Defendant JUSTIN FARA, by and through his attorneys, The Gunderson Law Firm,
LLC., and in response to Requests for Production submitted by Plaintiff Chop Foo, LLC,
pursuant to Rule 33 of the Federal Rules of Civil Procedure and Bankruptcy Rule 7033, responds
as follows:

                                     GENERAL OBJECTIONS


1. Defendant objects to each instruction, definition, document request, and interrogatory to the
extent that it purports to impose any requirement or discovery obligation greater than or different
from those under the Federal Rules of Civil Procedure, the Bankruptcy Rules and the applicable
Rules and Orders of the Court.

2. Defendant objects to each document request and interrogatory that is overly broad, unduly
burdensome, or not reasonably calculated to lead to the discovery of admissible evidence.

3. Defendant objects to each instruction, definition, document request, and interrogatory as
overbroad and unduly burdensome to the extent it seeks documents or information that are
readily or more accessible to Plaintiff from Plaintiff’s own files, from documents or information
in Plaintiff’s possession, or from documents or information that Defendant previously produced
to Plaintiff. Responding to such requests and interrogatory would be oppressive, unduly
burdensome, and unnecessarily expensive, and the burden of responding to such requests and
interrogatory is substantially the same or less for Plaintiff as for Defendant. This objection
encompasses, but is not limited to, documents and answers to interrogatories previously
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produced by Defendant to Plaintiff in the course of Plaintiff's State Court case against Defendant,
all correspondence between the Plaintiff and Defendant, all other information provided by
Defendant to Plaintiff, and all information produced by Plaintiff to Defendant in response to
discovery requests of Defendant. All such documents and information will not be produced.

4. Defendant's document requests and interrogatory call for the production of documents and
information that were produced to the Plaintiff by other entities and that may contain
confidential, proprietary, or trade secret information.

5. Defendant incorporates by reference every general objection set forth above into each specific
response set forth below. A specific response may repeat a general objection for emphasis or
some other reason. The failure to include any general objection in any specific response does not
waive any general objection to that request. Moreover, Defendant does not waive its right to
amend its responses.

                                     INTERROGATORIES


INTERROGATORY #1
Identify the amount, date, and recipient of each expenditure for materials or labor You or BJ
Construction made pursuant to the Contract.


ANSWER:        See the attached “EXHIBIT A.”


INTERROGATORY #2
Identify all individuals responsible for overseeing BJ Construction’s work at the Property, and
for each individual provide: (1) their name; (2) their current address; (3) the time period in which
they oversaw the work at the Property; (4) their responsibilities during that time period; and (5)
their compensation.


ANSWER:         See the attached “EXHIBIT B.”


INTERROGATORY #3
Identify the amount and date of each payment, commission, or other funds You personally
received from the money paid by Plaintiff to BJ Construction pursuant to the Contract.
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ANSWER:        No funds were directly received by myself from the project. Funds from the
project were deposited into the business account. The business infrequently paid me via
payroll or owner draw.


INTERROGATORY #4
Identify and describe the source of the $65,400.00 deposited in PNC Bank Business Checking
Account 46-3924-1727, in the name of Klasik Construction Inc., in January 2021.


ANSWER:        These funds break down as follows:
                       i)      $15,000 owner contribution.
                       ii)     $20,000 payment toward project at 5650 W. Grace Chicago,
                               IL.
                       iii)    $27,500 deposit from Client for project at 680 N Lakeshore
                               Drive Chicago, IL.



                               REQUESTS FOR PRODUCTION



DOCUMENT REQUEST NO. 1:

All documents, including communications, evidencing, relating to, or referring to the Contract
and the work performed by BJ Construction at the Property.

RESPONSE TO DOCUMENT REQUEST NO. 1:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

DOCUMENT REQUEST NO. 2:

All documents evidencing, relating to, or referring to the finances of BJ Construction from
January 1, 2018 through the present.

RESPONSE TO DOCUMENT REQUEST NO. 2:
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Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

DOCUMENT REQUEST NO. 3:

All documents evidencing, relating to, or referring to the finances of BJ Construction from
January 1, 2018 through the present.

RESPONSE TO DOCUMENT REQUEST NO. 3:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has no responsive documents in its possession,
custody, or control, other than those that have already been produced to Plaintiff and those being
produced in deposition testimony in the parties State Court Litigation.

DOCUMENT REQUEST NO. 4:

All documents evidencing, relating to, or referring to any transfers of money or other assets from
BJ Construction to You from January 1, 2018 through the present.

RESPONSE TO DOCUMENT REQUEST NO. 4:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has suplemented his previous document production
and has no other documents in his possession, custody, or control, other than those that have
already been produced to Plaintiff and those being produced in deposition testimony in the
parties State Court Litigation.

DOCUMENT REQUEST NO. 5:
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All documents evidencing, relating to, or referring to any transfers of money or other assets from
BJ Construction to Amber Pecora Fara from January 1, 2018 through the present.

RESPONSE TO DOCUMENT REQUEST NO. 5:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has suplemented his previous document production
and has no other documents in his possession, custody, or control, other than those that have
already been produced to Plaintiff and those being produced in deposition testimony in the
parties State Court Litigation.

DOCUMENT REQUEST NO. 6:

All documents evidencing, relating to, or referring to any transfers of money or other assets from
BJ Construction to Klasik Construction Inc. from January 1, 2018 through the present.

RESPONSE TO DOCUMENT REQUEST NO. 6:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has suplemented his previous document production
and has no other documents in his possession, custody, or control, other than those that have
already been produced to Plaintiff and those being produced in deposition testimony in the
parties State Court Litigation.

DOCUMENT REQUEST NO. 7:

All invoices received by BJ Construction from anyone who performed work or provided
materials for the work contemplated by the Contract.

RESPONSE TO DOCUMENT REQUEST NO. 7:
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Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has suplemented his previous document production
and has no other documents in his possession, custody, or control, other than those that have
already been produced to Plaintiff and those being produced in deposition testimony in the
parties State Court Litigation.

DOCUMENT REQUEST NO. 8:

All accounts receivable records of BJ Construction from January 1, 2018 to the present.

RESPONSE TO DOCUMENT REQUEST NO. 8:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has suplemented his previous document production
and has no other documents in his possession, custody, or control, other than those that have
already been produced to Plaintiff and those being produced in deposition testimony in the
parties State Court Litigation.

DOCUMENT REQUEST NO. 9:

All payroll records of BJ Construction, its officers or employees, from January 1, 2018 to the
present.

RESPONSE TO DOCUMENT REQUEST NO. 9:

Defendant objects to this request as duplicative and burdensome to the extent that it calls for
documents already produced to Plaintiff in State Court Litigation. Documents already produced
will not be produced again.

Subject to the above objections, Defendant has suplemented his previous document production
and has no other documents in his possession, custody, or control, other than those that have
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already been produced to Plaintiff and those being produced in deposition testimony in the
parties State Court Litigation.

DOCUMENT REQUEST NO. 10:

All documents evidencing, relating to, or referring to the finances of BJ Construction from
January 1, 2018 through the present.




RESPONSE TO DOCUMENT REQUEST NO. 10:

Plaintiff further objects to this request as duplicative, overbroad, and burdensome even if the
term “source of revenue" were construed more narrowly to include only Plaintiffs business that
was the subject of the underlying dispute. Even so construed, the request is duplicative,
overbroad, and burdensome to the extent that it calls for documents already produced to
Defendant. Documents already produced will not be produced again.

Subject to and without waiver of the foregoing objections, Plaintiff will produce the documents
responsive to this request that have not already been produced.



                                                     JUSTIN FARA


                                              By:    /s/ Michael Jeffrey Gunderson
                                                     The Gunderson Law Firm, LLC
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                                                     Chicago, Illinois 60618
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                                                     mgunderson@gundersonfirm.com
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                                  EXHIBIT A
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                                  EXHIBIT B
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